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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


JASON CANTRELL #397429,

         Plaintiff,                               Case No. 1:18−cv−1163

    v.                                            Hon. Jane M. Beckering

ANTHONY HEILIG, et al.,

         Defendants.
                                          /



                             NOTICE OF HEARING


TAKE NOTICE that a hearing has been rescheduled as set forth below:

Type of hearing(s):    Final Pretrial Conference
                       September 22, 2022 01:30 PM
Date/Time:             (previously set for 8/23/2022 at 01:30 PM)
District Judge:        Jane M. Beckering
Place/Location:        601 Federal Building, Grand Rapids, MI


                                              JANE M. BECKERING
                                              United States District Judge

Dated: August 1, 2022               By:        /s/ Rick M. Wolters
                                              Case Manager
